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                      UNITED STATES DISTRICT COURT 

                      NORTHERN DISTRICT OF GEORGIA 

                            ATLANTA DIVISION 


DEBI LITTLE,
                                         CASE NO.: 1:13-CV-3962-RWS
               Plaintiff,
VS.


J & S INTERNATIONAL
FOOD, INC., A GEORGIA
CORPORATION,

         Defendant.
__________________             ~I




                  DEFAULT JUDGMENT IN A CIVIL CASE

      IT IS ORDERED AND ADJUDGED that default judgment for the

principal amount of $3,514.24 plus attorneys' costs in the amount of $530.00 for a

total of $4,044.24 is awarded in favor of Plaintiff, Debi Little and against

Defendant, J&S INTERNATIONAL FOOD INC., plus interest as allowed by law

from and after the date below, for which sum let execution issue.

                              ~
      Dated this t1!. day of FieeRtttry, 2014.
